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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

MARCKENSON COLIN                                               CIVIL ACTION NO.

                Plaintiff,                                     3:19-cv-00985

        v.

UWADIA HARRY EVBAGHARU and
C.R. ENGLAND, INC.

                Defendants,


                        STIPULATION OF VOLUNTARY DISMISSAL


        IT IS HEREBY STIPULATED, CONSENTED, AND AGREED, by and between the
undersigned, the attorneys of record for all the parties to the above-entitled action, that pursuant to
R. 41(a)(1) of the Federal Rules of Civil Procedure, the above-entitled action is dismissed with
prejudice and without costs to either party as against the other.

        IT IS FURTHER STIPULATED, CONSENTED, AND AGREED that facsimile
signatures are to be deemed original signatures and this Stipulation may be filed without further
notice with the Clerk of the Court.




Dated: Westport, Connecticut
       July 7 , 2020


                                               Christina L. Albano, Esq.       5D,,f,

                                               LAW OFFICE OF BRUCE J. CORRIGAN, JR.
                                               Attorneys for Plaintiff
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                             /s/ Matthew D. Valauri (CT 30193)
